        Case: 22-40367      Document: 91     Page: 1     Date Filed: 08/18/2023




                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


STATE OF TEXAS, et al.,

                    Plaintiffs-Appellees,


                    v.                                 No. 22-40367

UNITED STATES OF AMERICA, et al.,

                    Defendants-Appellants.



  UNOPPOSED MOTION FOR VACATUR OF BRIEFING SCHEDULE

      The federal government respectfully moves for vacatur of the briefing schedule

entered on July 31, 2023. Counsel for appellees do not oppose this motion. In

support of this motion, counsel states as follows:

      The Supreme Court granted certiorari before judgment in this case, thus

reviewing the district court’s judgment directly. The Supreme Court held that

plaintiffs lack standing to pursue their claims. On July 31, 2023, the Supreme Court

issued its amended judgment in this case. Amended Judgment, United States v. Texas,

No. 22-58 (U.S. July 31, 2023). The amended judgment “order[s] and adjudge[s] . . .

that the judgment of the United States District Court for the Southern District of

Texas is reversed with costs.” Id. at 1. That judgment resolves this appeal,

eliminating any need for action by this Court.
        Case: 22-40367      Document: 91        Page: 2   Date Filed: 08/18/2023




      This Court issued a briefing schedule directing appellants to file an opening

brief by September 11, 2023. Because the Supreme Court has reversed the judgment

on appeal, the parties agree that this Court need not take any further action in this

appeal, other than to formally close the case. Accordingly, the government

respectfully requests that the Court vacate the briefing schedule.

                                         Respectfully submitted,

                                         DANIEL TENNY

                                         /s/ Michael Shih
                                         MICHAEL SHIH
                                         SEAN JANDA
                                          Attorneys, Appellate Staff
                                          Civil Division, Room 7268
                                          U.S. Department of Justice
                                          950 Pennsylvania Avenue NW
                                          Washington, D.C. 20530
                                          (202) 353-6880

AUGUST 2023




                                            2
        Case: 22-40367     Document: 91     Page: 3    Date Filed: 08/18/2023




                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I hereby certify that this motion complies

with the requirements of Fed. R. App. P. 27(d)(1)(E) because it has been prepared in

14-point Garamond, a proportionally spaced font, and that it complies with the type-

volume limitation of Fed. R. App. P. 27(d)(2)(A) because it contains 197 words,

according to the count of Microsoft Word.

                                              /s/ Michael Shih
                                              MICHAEL SHIH
